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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,                          Case No. 1:21-cr-00495-ABJ

           v.                                        MEMORANDUM OF LAW IN SUP-
                                                     PORT OF DANIEL PAUL GRAY’S
   DANIEL GRAY,                                      MOTION TO DISMISS COUNT 2
                                                     OF THE FIRST SUPERSEDING
  Defendant.                                         INDICTMENT, TO DISMISS
                                                     CHARGES UNDER 18 U.S.C.
                                                     1512(c)(2)


    MEMORANDUM OF LAW IN SUPPORT OF DANIEL PAUL GRAY’S MOTION
      TO DISMISS COUNT 2 OF THE FIRST SUPERSEDING INDICTMENT,
             TO DISMISS CHARGES UNDER 18 U.S.C. 1512(c)(2)

       Defendant Daniel Paul Gray (“Gray”), through the undersigned counsel, John M. Pierce,

Esq., presents this Memorandum of Law in support of his motion to dismiss Count 2 of the First

Superseding Indictment, because the charging documents fail to state an offense and/or 18

U.S.C. 1512(c)(2) does not apply to the best case scenario (for the Government) of what they

could have possibly alleged (but didn’t). In support of his motion Gray states as follows:


I. INTRODUCTION AND OVERVIEW




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                                             COUNT TWO

              On or about January 6, 2021, within the District of Columbia and elsewhere,

      DANIEL GRAY, attempted to, and did, corruptly obstruct, influence, and impede an

      official proceeding before Congress, specifically, Congress’s [sic] certification of the

      Electoral College as set out in the Twelfth Amendment of the Constitution of the United

      States and 3 U.S.C. §§ 15-18.

                (Obstruction of an Official Proceeding and Aiding and Abetting, in
                 violation of Title 18, United States Code, Sections 1512(c) and 2)


        Yet there are no factual allegations of Defendant Gray obstructing an official proceeding

or aiding and abetting the same. Therefore, Count 2 fails to state an offense. Count 2 must be

stricken pursuant to Rule 12(3)(B)(v) of the Federal Rules of Criminal Procedure (“FRCP”)

“failure to state an offense.”

        Moreover, if there were such factual allegations, 18 U.S.C. 1512(c)(2) under Count 2

does not apply to any of the potential facts that the prosecution might have imaginatively or

creatively – but not accurately – brought against Defendant Gray.


II. THE ALLEGATIONS AT ISSUE

        Defendant Daniel Paul Gray (“Gray”) is charged with nine (9) Counts which actually in

substance come down to --

            a. One Count of 18 U.S.C. § 1512(c)(2) “Obstruction of an Official Proceeding” for

                allegedly disrupting the quadrennial Joint Session of Congress for the receipt,

                evaluation, resolution of disputes about, and ultimate counting of the votes for

                President and Vice President by the Electoral College, including allegedly aiding




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               and abetting thereof, which is a felony punishable by up to 20 years in prison.

           b. Four variations of “Entering and Remaining in a Restricted Building or Grounds”

               with charges of disruption thereby 1 including under 18 U.S.C. § 1752(a)(1) and

               (2) and 40 U.S.C. § 5104(e)(2)(D) “Disorderly Conduct in a Capitol Building”

               and (G) “Parading, Demonstrating or Picketing in a Capitol Building.”

           c. Four variations of charges of violence including 18 U.S.C. § 231(a)(3) acts in

               furtherance of “Civil Disorder” or hindering officers during a civil disorder; 18

               U.S.C. § 111(a)(1) “Assaulting, Resisting, or Impeding Certain Officers”; 18

               U.S.C § 1752(a)(4) “Engaging in Physical Violence in a Restricted Building or

               Grounds”; and 40 U.S.C. § 5104(e)(2)(F) “Acts of Violence in the Capitol

               Grounds or Buildings.”

       The First Superseding Indictment (“FSI”) filed on December 1, 2021, at Dkt. No. 25, is

as the law customarily describes such as “thread bare.” It consists only of conclusory statements

of law and no factual allegations whatsoever. Presumably, the FSI is illuminated by the

Statement of Facts filed on May 17, 2021, at Dkt. No. 1-1, originally in Magistrate Case No.

1:21-mj-00429-GMH, which states (not in the order presented in the document):

           a. “At such time, the certification proceedings were still underway, and the exterior
              doors and windows were locked or otherwise secured. Members of the of the U.S.
              Capitol Police attempted to maintain order and keep the crowd from entering the
              Capitol; however shortly around 2:00 p.m., individuals in the crowd forced entry into
              the U.S. Capitol, including by breaking windows and by assaulting members of the
              U.S. Capitol Police, as others in the crowd encouraged and assisted those acts.”

               However, there are no allegations that Gray had anything to do with any of that, and
               the allegations indicate that Gray was not present until 2:57 PM. At least 2:57 PM is
               the first point in time at which the Statement of Offense and the investigation that
               produced it notice Gray’s presence.


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       Apparently meaning just being disruptive in general, not disruption of the Joint Session.



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 b. As the proceedings continued in both the House and the Senate, and with Vice
    President Mike Pence present and presiding over the Senate, a large crowd
    gathered outside the U.S. Capitol.

    However, of course, merely being near or among a crowd is not a crime.

 c. Temporary and permanent barricades were in place around the exterior of the U.S.
    Capitol building, and U.S. Capitol Police were present and attempting to keep the
    crowd away from the Capitol building and the proceedings underway inside.

 d. Members of the U.S. Capitol Police attempted to maintain order and keep the
    crowd from entering the Capitol; however, shortly around 2:00 p.m., individuals
    in the crowd forced entry into the U.S. Capitol, including by breaking windows
    and by assaulting members of the U.S. Capitol Police, as others in the crowd
    encouraged and assisted those acts.

    However, there is no allegation that Defendant Gray had anything to do with any
    of this.

 e. Shortly thereafter, at approximately 2:20 p.m. members of the United States
    House of Representatives and United States Senate, including the President of the
    Senate, Vice President Mike Pence, were instructed to—and did—evacuate the
    chambers. Accordingly, the joint session of the United States Congress was
    effectively suspended until shortly after 8:00 p.m. Vice President Pence remained
    in the United States Capitol from the time he was evacuated from the Senate
    Chamber until the sessions resumed.

    Actually, whatever the cause of recessing Congress was, it existed as early as
    2:14 PM, according to the court testimony of (then) U.S. House Parliamentarian
    Thomas J. Wickham in USA v. Stewart Rhodes, et al., Criminal Case No. 1:22-cr-
    00015, testimony on October 19, 2022. Clearly, the earliest reaction to a threat
    would indicate when the threat first existed. Because nothing can be done in zero
    time, the cause of Congress recessing must have existed considerably earlier than
    2:14 PM.

 f. During national news coverage of the aforementioned events, video footage
    which appeared to be captured on mobile devices of persons present on the scene
    depicted evidence of violations of local and federal law, including scores of
    individuals inside the U.S. Capitol building without authority to be there,
    including Daniel GRAY, as described below.

    The construction here “as described below” – creating a distinction between the
    allegations “above the line” from those “below the line” and other aspects of this
    transitional paragraph indicate and reinforce that Defendant Gray had nothing to
    do with any of the events above the paragraph.

 g. Gray states that “a female cop stole my phone and I got mace’d . . . and I’m like



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               you know what, we’re doing this and so we literally pushed them from the front
               steps of the Capitol all the way back.” (Gray disputes this account of events.)

           h. The affiant reviewed body-worn cameras worn by members of the Washington,
              D.C. Metropolitan Police Department (“MPD”) that recorded Gray inside the
              Rotunda area of the U.S. Capitol Building on January 6, 2021. In sum, the body-
              worn camera footage recorded that, at approximately 2:57 p.m., a group of MPD
              and United States Capitol Police (“USCP”) officers were standing at the top of the
              stairs off of the west-side of the Capitol Rotunda, in an effort to deny the rioters
              the ability to maneuver through the Rotunda.

           i. In one such body-worn camera video, Gray joined a group of rioters, who are
              yelling at the officers for various reasons, and Gray remained in the vicinity. 2

       Yelling of course does not by itself constitute a riot. The U.S. Capitol being 751 feet

long and frequently filled with tours of school children, tourists, visitors, lobbyists, special

interest groups, staff, and visiting government personnel, yelling might not even qualify as

disruptive. The word “yelling” can cover a broad spectrum of very different activity, especially

given the size of the Capitol building. And what constitutes a riot turns on other factors, not on

yelling. A large crowd all yelling in unison could violate noise limitations yet perhaps in no way

constitute any kind of riot in a given fact pattern. Indeed, yelling alone, whether lawful or not,

would probably never be a riot. As to being “in the vicinity” of rioters, 18 U.S. Code § 2102 –

“Definitions” provides a statutory definition of “riot” in s section focused on riots as:


            (a)
            As used in this chapter, the term “riot” means a public disturbance
            involving (1) an act or acts of violence by one or more persons part of an
            assemblage of three or more persons, which act or acts shall constitute a
            clear and present danger of, or shall result in, damage or injury to the
            property of any other person or to the person of any other individual or
            (2) a threat or threats of the commission of an act or acts of violence by

2
        No crime exists, of course, of merely being in the vicinity of a riot. It is repugnant to
American law to judge people other than as individuals for their individual actions. See, e.g.,
The Dream Defenders, et al., v. Ron DeSantis, 21-cv-191, ECF No. 137 (N.D. Fla. Sept. 9, 2021)
(injunction against anti-riot law in part because the legislation appeared to criminalize the de-
fendant’s protest activities even if he did not participate in the violent acts of others).



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              one or more persons part of an assemblage of three or more persons
              having, individually or collectively, the ability of immediate execution of
              such threat or threats, where the performance of the threatened act or acts
              of violence would constitute a clear and present danger of, or would
              result in, damage or injury to the property of any other person or to the
              person of any other individual.


III. GOVERNING LAW:

       Prosecutors while enjoying many advantages such as nearly limitless government

resources, must also meet more compelling and strict burdens than usual for attorneys in other

contexts:

              In Berger v. United States, Justice George Sutherland, who was part of
              the Schechter majority, said the following about the role of the
              prosecutor:

                 [He] is the representative not of an ordinary party to a
                 controversy, but of a sovereignty whose obligation to govern
                 impartially is as compelling as its obligation to govern at all;
                 and whose interest, therefore, in a criminal prosecution is not
                 that it shall win a case, but that justice shall be done. As such,
                 he is in a peculiar and very definite sense the servant of the
                 law, the twofold aim of which is that guilt shall not escape or
                 innocence suffer. He may prosecute with earnestness and
                 vigor-indeed he should do so. But while he may strike hard
                 blows, he is not at liberty to strike foul ones. It is as much his
                 duty to refrain from improper methods calculated to produce a
                 wrongful conviction as it is to use every legitimate means to
                 bring about a just one. 7

Bennett L. Gershman, "Hard Strikes and Foul Blows:" Berger v. United States 75 Years After, 42
Loy. U. Chi. L. J. 177, 179 (2010). Available at:
http://lawecommons.luc.edu/luclj/vol42/iss1/8 (citing to Berger v. United States, 295 U.S.
78, 88 (1935) (emphases added).

       Perhaps even more compelling:

              Also, there is little doubt that Justice Sutherland's articulation of the
              special obligation of the prosecutor to ensure that "justice shall be done"
              was influenced by then-Canon 5 of the Canons of Professional Ethics of
              the American Bar Association, which stated:




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                      "The primary duty of a lawyer engaged in public
                      prosecution is not to convict, but to see that justice is
                      done. The suppression of facts or the secreting of
                      witnesses capable of establishing the innocence of the
                      accused is highly reprehensible."

Gershman, at 194.

        18 U.S. Code § 1512 – “Tampering with a witness, victim, or an informant” 3

requires that:

            (a)
               (1)Whoever kills or attempts to kill another person, with intent
               to—
                    (A) prevent the attendance or testimony of any person in
                    an official proceeding;
                    (B) prevent the production of a record, document, or
                    other object, in an official proceeding; or
                    (C) prevent the communication by any person to a law
                    enforcement officer or judge of the United States of
                    information relating to the commission or possible
                    commission of a Federal offense or a violation of
                    conditions of probation, parole, or release pending
                    judicial proceedings;
            shall be punished as provided in paragraph (3).

                  (2)Whoever uses physical force or the threat of physical force
                  against any person, or attempts to do so, with intent to—
                      (A) influence, delay, or prevent the testimony of any
                      person in an official proceeding;
                      (B) cause or induce any person to—
                           (i) withhold testimony, or withhold a record,
                           document, or other object, from an official
                           proceeding;
                           (ii) alter, destroy, mutilate, or conceal an object
                           with intent to impair the integrity or availability of
                           the object for use in an official proceeding;
                           (iii) evade legal process summoning that person to
                           appear as a witness, or to produce a record,
                           document, or other object, in an official
                           proceeding; or
                           (iv) be absent from an official proceeding to which


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        https://www.law.cornell.edu/uscode/text/18/1512



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               that person has been summoned by legal process;
               or
          (C) hinder, delay, or prevent the communication to a law
          enforcement officer or judge of the United States of
          information relating to the commission or possible
          commission of a Federal offense or a violation of
          conditions of probation, supervised release, parole, or
          release pending judicial proceedings;
  shall be punished as provided in paragraph (3).

    (3)The punishment for an offense under this subsection is—
         (A) in the case of a killing, the punishment provided in
         sections 1111 and 1112;
         (B) in the case of—
            (i) an attempt to murder; or
            (ii) the use or attempted use of physical force against
            any person;
  imprisonment for not more than 30 years; and

         (C) in the case of the threat of use of physical force
         against any person, imprisonment for not more than 20
         years.

  (b)Whoever knowingly uses intimidation, threatens, or corruptly
  persuades another person, or attempts to do so, or engages in misleading
  conduct toward another person, with intent to—
     (1) influence, delay, or prevent the testimony of any person in an
     official proceeding;
     (2) cause or induce any person to—
          (A) withhold testimony, or withhold a record, document,
          or other object, from an official proceeding;
          (B) alter, destroy, mutilate, or conceal an object with
          intent to impair the object’s integrity or availability for
          use in an official proceeding;
          (C) evade legal process summoning that person to
          appear as a witness, or to produce a record, document, or
          other object, in an official proceeding; or
          (D) be absent from an official proceeding to which such
          person has been summoned by legal process; or

     (3) hinder, delay, or prevent the communication to a law
     enforcement officer or judge of the United States of information
     relating to the commission or possible commission of a Federal
     offense or a violation of conditions of probation [1] supervised
     release,,[1] parole, or release pending judicial proceedings;




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            shall be fined under this title or imprisoned not more than 20 years, or
            both.

            (c)Whoever corruptly—
               (1) alters, destroys, mutilates, or conceals a record, document, or
               other object, or attempts to do so, with the intent to impair the
               object’s integrity or availability for use in an official proceeding;
               or
               (2) otherwise obstructs, influences, or impedes any official
               proceeding, or attempts to do so,
            shall be fined under this title or imprisoned not more than 20 years, or
            both.

            (d)Whoever intentionally harasses another person and thereby hinders,
            delays, prevents, or dissuades any person from—
               (1) attending or testifying in an official proceeding;
               (2) reporting to a law enforcement officer or judge of the United
               States the commission or possible commission of a Federal offense
               or a violation of conditions of probation 1 supervised
               release,,1 parole, or release pending judicial proceedings;
               (3) arresting or seeking the arrest of another person in connection
               with a Federal offense; or
               (4) causing a criminal prosecution, or a parole or probation
               revocation proceeding, to be sought or instituted, or assisting in
               such prosecution or proceeding;
            or attempts to do so, shall be fined under this title or imprisoned not
            more than 3 years, or both.

            (e) In a prosecution for an offense under this section, it is an affirmative
            defense, as to which the defendant has the burden of proof by a
            preponderance of the evidence, that the conduct consisted solely of
            lawful conduct and that the defendant’s sole intention was to encourage,
            induce, or cause the other person to testify truthfully.
                               ***

IV. ARGUMENT

           A. MOTION TO DISMISS FOR FAILURE TO STATE AN OFFENSE

       As stated, the First Superseding Indictment contains no factual allegations at all on any

topic. The Statement of Offense, even if we may give extreme generosity to the Government

that the Statement of Offense for issuing an arrest warrant may be used to supplement the fact-

free indictment, there are no factual allegations in the Statement of Offense either that Defendant



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Gray in any way obstructed an official proceeding. Perhaps others did. But not Gray.

       The Statement of Offense – assuming that it can serve to cure the defects in the

indictment clearly identifies the obstruction of an official proceeding as being the evacuation of

the Joint Session of Congress on January 6, 2021, which the Government identifies as being at

2:20 PM, but the testimony of the Parliamentarian of the U.S. House Representatives Tom

Wickham on October 19, 2021, states that Speaker of the House Nancy Pelosi was whisked away

from the podium of the House at 2:14 PM. One assumes that the evaluation of threats as causes

for evacuation, the decision-making process, physically traveling to the well of the House and

Senate Chambers, and communicate a recommendation must consume additional time.

       Strikingly, however, there are no allegations at all of:

           •   Any cause of any kind of the allegation or circumstances that “at approximately

               2:20 p.m. members of the United States House of Representatives and United

               States Senate, including the President of the Senate, Vice President Mike Pence,

               were instructed to—and did—evacuate the chambers.”

           •   Who instructed this? It is written only in the passive voice. 4

           •   Why did such person instruct them to evacuate?

           •   What was the cause for the decision to evacuate?

           •   When was the earliest time when the cause to evacuate existed.

           •   When was the earliest time the decision to evacuate was made.

           •   Specifically, did Defendant Gray obstruct an official proceeding?


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        Note that the sufficiency of the indictment must stand on its own. The question is not
what the Government could have written, but what it actually did write. Whether an indictment
could be written better is immaterial. It cannot be speculated how a different document might
affect a defendant’s rights, because it is the document as written that may prejudice his rights.



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           •   In what way did Defendant Gray obstruct an official proceeding?

           •   Did Gray in any way cause the evacuation of the Joint Session of Congress which

               started no later than 2:14 PM. if he was not there.

           •   Although the Statement of Offense does allege in detail acts of violence and

               brawling with police, it does not allege any purpose, motive, intent, etc., for Gray

               to have done so. Therefore, what does the Government allege other than the

               concession that a police officer inexplicably grabbed his phone and he followed

               her into the building to get his phone back.

           •   What role did Gray play in causing the obstruction of an official proceeding,

               which is specifically identified as being the evacuation of the Joint Session of

               Congress?

           •   Given that the Government concedes that no one obstructed the Joint Session of

               Congress, but that the session evacuated itself on its own upon someone’s

               instructions, who or what caused the evacuation of the session.

       Furthermore, the doctrine of “Corpus Delicti” would bar mere statements by Defendant

Gray unsupported by hard concrete proof of the elements of the offense. The doctrine does not

allow a defendant’s statements alone to support conviction.

       In Hunter v. District of Columbia , 47 App. D.C. 406 (D.C. Cir. 1918), for example, the

Circuit Court examined an indictment that alleged that the defendants had "congregate[d] and

assemble[d] on Pennsylvania avenue, N.W., [and] did then and there crowd, obstruct, and

incommode the free use of the sidewalk thereof on said avenue" in violation of the unlawful

assembly statute. Id. at 408. Beyond the general terms of acts prohibited by the statute, there was

no averment of fact "to inform defendants of the nature of the acts which [were] relied upon by




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the prosecution as constituting alleged obstruction of the sidewalk, or that would enable

defendants to make an intelligent defense, much less to advise the court of the sufficiency of the

charge in law to support a conviction." Id. at 410. And the fact that the charging document

"fail[ed] to set out the acts committed by the defendants which constituted the crowding

bstructing of the free use of the walk by them[,]" Id. at 409, was a fatal flaw. As stated by the

Hunter Court:

            [i]t is elementary that an information or indictment must set out the facts
            constituting the offense, with sufficient clearness to apprise the
            defendant of the charge he is expected to meet, and to inform the court of
            their sufficiency to sustain the conviction. ... In other words, when the
            accused is led to the bar of justice, the information or indictment must
            contain the elements of the offense with which he is charged, with
            sufficient clearness to fully advise him of the exact crime which he is
            alleged to have committed.

Id. at 409, 410 (emphasis added) (internal quotation marks and citation omitted).

        The Hunter Court also observed that the defendants in that case could have engaged in a

number of acts that fell outside the scope of the statute, and thus, by failing to specify the

defendants' particular conduct, the indictment was "too vague, general, and uncertain to meet the

requirements of the established rules of criminal pleading," which in turn rendered it

"insufficient in law." Id. at 410.

        Before trial, a defendant in a criminal case may move to dismiss the charging document

for failure to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). See United States v. Akinyoyenu,

199 F. Supp. 3d 106, 109 (D.D.C. 2016)(Citations omitted). The operative question is whether

the allegations in the indictment, if proven, permit a jury to conclude that the defendant

committed the criminal offense as charged. Ankinyoyenu at 9-10. See United States v. Sanford,

Ltd., 859 F. Supp. 2d 102, 107 (D.D.C.2012); United States v. Bowdoin, 770 F. Supp. 2d 142,

146 (D.D.C.2011). Moreover, in analyzing this, “a district court is limited to reviewing the face



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of the charging document and, more specifically, the language used to charge the crimes.”

United States v. Sharpe, 438 F.3d 1257, 1263 (11th Cir. 2006)(emphasis original).

       A valid indictment must set out "the elements of the offense intended to be charged and

sufficiently apprise the defendant of what he must be prepared to meet." United States v. Pickett,

353 F.3d 62,67 (D.C. Cir. 2004). The government must state the essential elements of the crime

and allegations of "overt acts [constituting the offense] with sufficient specificity." United States

v. Childress, 58 F.3d 693, 720 (D.C. Cir. 1995).

       A criminal complaint is also meant to satisfy at least two constitutional provisions. First,

it gives Sixth Amendment notice of the nature and circumstances of the alleged crime so the

accused may meet the charge and defend himself. United States v. Hitt, 249 F.3d 1010, 1016

(D.C. Cir. 2001); Hamling v. United States, 418 U.S. 87, 117 (1974). Second, a valid indictment

fulfills the Fifth Amendment’s edicts that citizens are not placed in jeopardy twice for the same

offense. Stirone v. United States, 361 U.S. 212, 218 (1960); United States v. Martinez, 764

F.Supp.2d 166, 170 (D.D.C.2011) (quotations and citations omitted). That is, the allegations

must be sufficiently clear, complete, thorough enough, non-generic, and specific to the particular

Defendant to identify if the Defendant were later charged with the same offense that double

jeopardy applies to bar a second prosecution of the same offense.

       A criminal complaint fulfills these fundamental constitutional provisions when it sets out

both the elements of the crime and the factual circumstances that would satisfy those elements

when assumed true. Hamling, 418 U.S. at 118-19. A criminal complaint may be dismissed as

constitutionally insufficient when it does not join the elements with factual allegations. See

Russell v. United States, 369 U.S. 749, 763-771 (1962); United States v. Hillie, 227 F. Supp. 3d

57 (D.D.C. Jan. 5, 2017). The Supreme Court explained:




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             “[The second object of an indictment is] to inform the court of the facts
             alleged, so that it may decide whether they are sufficient in law to
             support a conviction. For this, facts are to be stated, not conclusions of
             law alone.” United States v. Cruikshank, 92 U.S. 542, 558 (1875).


B. ALTHOUGH WE CAN ONLY IMAGINE WHAT THE GOVERNMENT MIGHT
HAVE ALLEGED, 18 U.S.C. 1512(c)(2) DOES NOT COVER THE POSSIBLE
ALLEGATIONS OF OBSTRUCTION OF AN OFFICIAL PROCEEDING

            1. Hundreds of January 6 Defendants in Dozens of Cases Raise Challenges

        The charge of obstruction of an official proceeding as a violation of 18 U.S.C. 1512(c)(2)

carries a penalty of up to 20 years in prison as a felony. Therefore, even though Gray believes

that the Government has not actually alleged a violation, Gray by counsel cannot ignore the legal

risk of the charge and fail to address it.

        Many District Court Judges in this Court have considered challenges to 18 U.S.C.

1512(c)(2). The motions in many different January 6 related cases vary considerably as to the

reasons asserted. Gray, by counsel, would like to join in and associate himself with all of those

Motions to Dismiss criminal charges under 18 U.S.C. 1512(c)(2) and apply any appellate

decision in his favor. However, it is not clear that Gray can join motions across the hundreds of

different cases arising from events related to January 6, 2021.

        What do we mean that motions challenge 18 U.S.C. 1512(c)(2)? None of the challenges

to Gray’s knowledge context the validity of that statute, but challenge whether the Government

is misinterpreting and mis-using the statute to apply to fact patterns that do not come within the

orbit of the statute.

        Many such motions challenge whether the Joint Session of Congress which is held every

four years on January 6 qualifies as an “official proceeding” on some serious technical grounds

that the entire statute 18 U.S.C. 1512 is clearly addressed to adjudicatory proceedings involving




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witnesses, evidence, and adjudicatory decision.

        Other challenges argue that 1512(c)(2) should not be read in isolation but as a

continuation of the rest of 18 U.S.C. 1512 and consistent with its overall limitations and

meaning. It is a remainder clause. And therefore it must be read in context. This includes the

fact that the statute focuses on altering or withholding documents or intimidating witnesses in a

court trial.

        Other challenges contend at least as applied to this kind of situation, such as where it

sounds in lobbying or petitioning the government for redress of grievances, it becomes as applied

unconstitutionally void for vagueness.

        Other challenges focus on legislative history which would clearly argue for applying the

subsection only to withholding or altering documents or threatening witnesses.

        The challenges that Defendant Gray emphasizes as strongest in his view – but not to

suggest the other challenges should be ignored – are that

        a) The modifier “corruptly” at the start of subsection 1512(c)(2) – particularly in the

               context of the rest of the statute – signals that the intent of Congress was to focus on

               corrupt motives or techniques, primarily financial.

                  Congress could have used qualifiers like “violently” – and in other subsections

               Congress actually did so. Congress did not mean to duplicate other subsections.

               Congress already covered the topic elsewhere of any violent act to disrupt a court

               trial. But those sections and subsections are not as vague and malleable.

                  Congress could have used qualifiers like “unlawfully” and certainly knows how to

               say so if that is what Congress means.

        b) The structure of 1512(c)(2) connecting it by “or” from the previous subsection




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           1512(c)(1) does not allow 1512(c)(2) to be read in isolation as a stand-alone law, but

           as an alternative but connected concept to 1512(c)(1).

       c) The modifier “corruptly” at the start of subsection 1512(c)(2) is unconstitutionally

           void for vagueness. If the statute is limited to the overall purpose of 18 U.S.C. 1512,

           then the ambiguity, vagueness, or confusion does not arise. But once the subsection

           is untethered from the topic of protecting judicial trials or quasi-judicial

           administrative trials from corruption, the qualifier becomes vague and subject to

           many unclear alternative interpretations.

       d) The connector “otherwise” also limits the meaning of 1512(c)(2) to the topics set

           forth in 1512 pursuant to the doctrine of noscitur a sociis, that an open-ended

           category following a list of specific examples must interpreted within that context.

           2. Judge Nichols Decision on 18 U.S.C. 1512(c)(2) in United States v.
              Garrett Miller, Faces Currently Pending Appeal

       The Honorable Carl J. Nichols, District Court Judge, struck down the same Count

(prosecutors are bringing identical counts across many January 6-releated criminal cases) in

U.S.A. v. Garrett Miller, Criminal Case No. 1:21-cr-00119-CJN, Memorandum Opinion (Nichols,

Carl, J.) (D.D.C. March 7, 2022)

       As a result, the Government has appealed. Currently pending in the U.S. Court of

Appeals for the District of Columbia Circuit is the Government’s appeal. We could relatively

shortly receive guidance. But the Circuit’s oral argument docket through mid-December does

not show plans to argue Miller as of yet.

       Nichols did reject the “Joint Session is not an official proceeding” argument. However,

Judge Nichols began with setting forth applicable standards, including:

               B. The Court must exercise restraint when assessing the reach of
               criminal statutes


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               Because Miller challenges the scope of a federal criminal statute and its
               application to his alleged conduct, additional interpretive rules apply.
               First, federal courts have “traditionally exercised restraint in assessing
               the reach of a federal criminal statute.” United States v. Aguilar, 515
               U.S. 593, 600 (1995). The Supreme Court has urged this restraint “both
               out of deference to the prerogatives of Congress and out of concern that
               ‘a fair warning should be given to the world in language that the
               common world will understand, of what the law intends to do if a
               certain line is passed.’” Id. at 600 (citations omitted); cf. Sessions v.
               Dimaya, 138 S. Ct. 1204, 1223–28 (2018) (Gorsuch, J., concurring in
               part and concurring in judgment). This “prudent rule of construction”
               continues with force today. Dowling v. United States, 473 U.S. 207,
               214 (1985); see Marinello v. United States, 138 S. Ct. 1101, 1108
               (2018) (endorsing the rule).

               Running parallel to this principle is the rule of lenity. “[T]he rule of
               lenity is venerable,” United States v. Nasir, 17 F.4th 459, 472 (3d
               Cir. 2021) (en banc) (Bibas, J., concurring), having arisen to
               mitigate draconian sentences in England and having been firmly
               established in English law by the time of Blackstone, id. at 473. “[I]t
               took root in our law soon thereafter.” Id.

               “Under the rule of lenity, courts construe penal laws strictly and
               resolve ambiguities in favor of the defendant,” id., so long as doing
               so would not “conflict with the implied or expressed intent of
               Congress,” Liparota v. United States, 471 U.S. 419, 427 (1985).
               Under current doctrine, the rule of lenity applies to instances of
               “grievous” ambiguity, see Shular v. United States, 140 S. Ct. 779,
               788 (2020) (Kavanaugh, J., concurring) (collecting citations), a
               construction that is arguably in tension with the rule’s historical
               origins, see 1 William Blackstone, Commentaries *88 (“Penal
               statutes must be construed strictly.”). See also Wooden v. United
               States, ___ U.S. ___, ___ (2022) (Gorsuch, J., concurring in
               judgment) (slip op. at 9–12); but see id. (Kavanaugh, J., concurring)
               (slip op. at 1–4).


           3. Judge Nichols Strikes 18 U.S.C. 1512(c)(2) in United States v. Garrett
              Miller, Criminal Case No. 1:21-cr-00119-CJN

       Judge Nichols concluded after a thoughtful and open-minded (carefully considering each

alternative with respect) analysis, starting on page 29, that:

               The Court therefore concludes that § 1512(c)(2) must be
               interpreted as limited by subsection (c)(1), and thus requires that



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       the defendant have taken some action with respect to a document,
       record, or other object in order to corruptly obstruct, impede or
       influence an official proceeding.


And Judge Nichols analyzed the issues setting forth the details of the issues:

       E. Miller’s alleged conduct falls outside of § 1512(c)(2)

       For all the foregoing reasons, the Court believes there are two
       plausible interpretations of the statute: either § 1512(c)(1) merely
       includes examples of conduct that violates § 1512(c)(2), or §
       1512(c)(1) limits the scope of § 1512(c)(2). The text, structure, and
       development of the statute over time suggest that the second reading
       is the better one. But the first is, at a minimum, plausible.

       At the very least, the Court is left with a serious ambiguity in a
       criminal statute. As noted above, courts have “traditionally
       exercised restraint in assessing the reach of a federal criminal
       statute,” Aguilar, 515 U.S. at 600, and have “construe[d] penal laws
       strictly and resolve[d] ambiguities in favor of the defendant,” Nasir,
       17 F.4th at 473 (Bibas, J., concurring) (citing Liparota, 471 U.S. at
       427). Applying these principles here “gives citizens fair warning of
       what conduct is illegal, ensuring that [an] ambiguous statute[] do[es]
       not reach beyond [its] clear scope.” Nasir, 17 F.4th at 473 (Bibas, J.,
       concurring). And it makes sure that “the power of punishment is
       vested in the legislative, not the judicial department.” Id. (quoting
       United States v. Wiltberger, 18 U.S. (5 Wheat.) 76, 95 (1820)
       (Marshall, C.J.)). The Court therefore concludes that § 1512(c)(2)
       must be interpreted as limited by subsection (c)(1), and thus requires
       that the defendant have taken some action with respect to a
       document, record, or other object in order to corruptly obstruct,
       impede or influence an official proceeding.

Judge Nichols also explained his analysis as follows:

       Applying the traditional tools of statutory interpretation—text,
       structure, and the development of the statute over time—the Court
       concludes that three readings of the statute are possible, and two are
       plausible. This is therefore a circumstance in which the Court must
       “exercise[ ] restraint in assessing the reach of a federal criminal
       statute,” Aguilar, 515 U.S. at 600, and “resolve ambiguities in favor
       of the defendant,” Nasir, 17 F.4th at 473 (Bibas, J., concurring)
       (citing Liparota, 471 U.S. at 427).

       A. The text of § 1512(c) supports three possible readings of the



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    statute

    The Court begins, as it must, with the text. Recall what § 1512(c)
    proscribes:
        (c) Whoever corruptly—
        (1) alters, destroys, mutilates, or conceals a record,
        document, or other object, or attempts to do so, with
        intent to impair the object’s integrity or availability for
        use in an official proceeding; or

        (2) otherwise obstructs, influences, or impedes any
        official proceeding, or attempts to do so,

    shall be fined under this title or imprisoned not more than 20 years,
    or both.

    18 U.S.C. § 1512(c) (emphasis added).

    Miller is charged with violating only subsection (2).

    Reading § 1512(c)(2) alone is linguistically awkward. That is
    because of the adverbial use of the word “otherwise,” such that §
    1512(c)(2), on its own, makes criminal “whoever corruptly . . .
    otherwise obstructs, influences, or impedes any official proceeding,
    or attempts to do so.” The parties are therefore in agreement that the
    meaning of “otherwise” is critical to determining what § 1512(c)(2)
    covers. They differ, however, over what that meaning is, and
    whether or how the word “otherwise” ties § 1512(c)(2) to the prior
    subsection—§ 1512(c)(1).

    Otherwise as a clean break between subsections. When § 1512(c)
    became law, “otherwise” had three different definitions that are
    plausible in this context: “in a different way or manner: differently”;
    “in different circumstances: under other conditions”; and “in other
    respects.” Otherwise, Webster’s Third New Int’l Dictionary of the
    English Language Unabridged (2002).

    Relying on the first definition—“in a different way or manner”—and
    the breadth of the terms in § 1512(c)(2), the government suggests that
    “otherwise” essentially serves as a clean break between subsections
    (c)(1) and (2), and thus the only question is whether Miller “corruptly .
    . . obstruct[ed], influence[d], or impede[d] any official proceeding, or
    attempt[ed] to do so.” Under this reading, there would be no
    relationship between subsections (c)(1) and (c)(2) at all.

    There are a number of problems with this interpretation. First, it
    ignores that “otherwise” has several different (though related)



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               definitions, each of which implies a relationship to something else—
               here, subsection (c)(1).

               Second, and more important, this interpretation does not give meaning
               to the word “otherwise.” When possible, of course, the Court must give
               effect to every word in a statute. Setser v. United States, 566 U.S. 231,
               239 (2012). But if § 1512(c)(2) is read as wholly untethered to §
               1512(c)(1), then “otherwise” would be pure surplusage. In other words,
               under this reading, subsection (c)(2) would have the same scope and
               effect as if Congress had instead omitted the word “otherwise.”

               Third, reading “otherwise” in this way is inconsistent with Begay v.
               United States, 553 U.S. 137 (2008), abrogated on other grounds by
               Johnson v. United States, 576 U.S. 591 (2015). * * *

           4. Modifier “Corruptly’ in 18 U.S.C. 1512(c)(2) Requires Motive of
              Pecuniary Motive or other benefit; Subsection Limited to Scope of
              18 U.S.C. 1512(c)(1)


       Defendant Gray, by counsel, certainly adopts and urges Judge Nichols analysis, which –

quite frankly – grows on one with more careful study. Although Judge Nichol’s bottom line

seems surprising, his thoughtful and painstaking analysis of each interpretive factor leads

mathematically to this result.

       However, Gray, by counsel, also urges the Court to find that the modifier “corruptly” as

applied in the Government’s approach becomes unconstitutionally void for vagueness as the

statute is applied and that the connector “otherwise” strictly limits 1512(c)(2) under the

application of noscitur a sociis, expressed under any number of different labels, or similar

analytical approaches.

       Defendant Gray contends that the best definition of “corruptly” seems to be seeking some

advantage from an official (or an official giving some advantage) “inconsistent with official duty

and the rights of others” which is done “with a hope or expectation of either financial gain or

other benefit to oneself or a benefit of another person" to which the actor would not be entitled

by proper proceedings.



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       Black’s Law Dictionary defines ‘corruptly’ as used in criminal-law statutes as ‘indicates

a wrongful desire for pecuniary gain or other advantage.’ Black’s Law Dictionary 371 (8th ed.

2004).” United States of America vs. Samuel Saldana, U.S. Court of Appeals for the Fifth

Circuit, Case No. 04-50527, Opinion, August 18, 2005 , footnote 7.

       Therefore, “corruptly” cannot be satisfied by alleging or arguing “violently” or merely

“unlawfully.” In fact, the legal history of the word suggests that it involves a financial motive or

purpose, although perhaps in pursuit of a non-cash pecuniary motive.

       Marinello v. United States, 138 Ct. 1101, 1114 (2018) (emphasis added) is highly

instructive:

               The difference between these mens rea requirements is significant.
               While "willfully" requires proof only "that the law imposed a duty on
               the defendant, that the defendant knew of this duty, and that he
               voluntarily and intentionally violated that duty," Cheek v. United
               States, 498 U.S. 192, 201, 111 S.Ct. 604, 112 L.Ed.2d 617 (1991),
               "corruptly" requires proof that the defendant "act[ed] with an intent to
               procure an unlawful benefit either for [himself] or for some other
               person," United States v. Floyd, 740 F.3d 22, 31 (C.A.1 2014)
               (collecting cases); see also Black's Law Dictionary 414 (rev. 4th ed.
               1951) ("corruptly" "generally imports a wrongful design to acquire
               some pecuniary or other advantage"). In other words, "corruptly"
               requires proof that the defendant not only knew he was obtaining
               an "unlawful benefit" but that his "objective" or "purpose" was
               to obtain that unlawful benefit. See 21 Am.Jur.2d, Criminal Law
               § 114 (2016) (explaining that specific intent requires both
               knowledge and purpose).

       One definition is explored under United States v. Aguilar, 515 U.S. 593, 616 (1995)

(Scalia, J., concurring in part) (emphases added) for 18 U.S.C. 1503, as an analogy:

           Finally, respondent posits that the phrase "'corruptly ... endeavors to influence,
           obstruct, or impede' may be unconstitutionally vague," in that it fails to provide
           sufficient notice that lying to potential grand jury witnesses in an effort to
           thwart a grand jury investigation is proscribed. Brief for Respondent 22, n. 13.
           Statutory language need not be colloquial, however, and the term "corruptly"
           in criminal laws has a longstanding and well-accepted meaning. It denotes
           "[a]n act done with an intent to give some advantage inconsistent with



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           official duty and the rights of others .... It includes bribery but is more
           comprehensive; because an act may be corruptly done though the advantage to
           be derived from it be not offered by another." United States v. Ogle, 613 F.2d
           233, 238 (CAlO) (internal quotation marks omitted), cert. denied, 449 U. S.
           825 (1980). See also Ballentine's Law Dictionary 276 (3d ed. 1969); Black's
           Law Dictionary 345 (6th ed. 1990). As the District Court here instructed the
           jury:

                  "An act is done corruptly if it's done voluntarily and intentionally
                  to bring about either an unlawful result or a lawful result by some
                  unlawful method, with a hope or expectation of either financial
                  gain or other benefit to oneself or a benefit of another person."
                  App. 117.

       Scalia first defines “corruptly” as “"[a]n act done with an intent to give some advantage

inconsistent with official duty and the rights of others” and then affirms the jury instruction

definition that

                  "An act is done corruptly if it's done voluntarily and intentionally to
                  bring about either an unlawful result or a lawful result by some
                  unlawful method, with a hope or expectation of either financial gain
                  or other benefit to oneself or a benefit of another person."

       Thus, Scalia combines two different definitions, but endorses the jury instructions that

corruptly means “with a hope or expectation of either financial gain or other benefit to oneself or

a benefit of another person."

       A synthesis of Scalia’s analysis would be that “corruptly” implies a financial gain to the

actor or someone in privity with the actor. There is no precedent of a defendant acting corruptly

to benefit some unrelated person. The actual usage suggests that the other person is tied to the

actor in such a manner that the actor derives some personal benefit or satisfaction from

benefiting the other person, such as a family member.

           5. Gray argues that “Corruptly” is Unconstitutionally Vague

       "Ambiguity exists if there is a plausible interpretation of the statute” [that would not

authorize money damages against the Government. Nordic Village, supra, at 34, 37, 112 S.Ct.



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1011.] Fed. Aviation Admin. v. Cooper, 132 S. Ct. 1441, 182 L. Ed. 2d 497, 566 U.S. 284, 291

(2012). Ambiguity arises where a contractual term is “fairly susceptible of different

constructions,” “obscure in meaning through indefiniteness of expression,” or has a double

meaning. Duquesne Light Co. v. Westinghouse Elec. Corp.,, 66 F.3d 604, 614 (3rd Cir. 1995).

A contract is not, however, rendered ambiguous by the mere fact that the parties do not agree on

the proper construction. Duquesne Light Co., 66 F.3d at 614.

       “’Ambiguity’ can exist in a written document only in those cases where language is

susceptible of more than one meaning.18” Hardy and Hardy, Cal. App, 135 P. 2d, 615, 619,

quoted in Dr. Sanford Schane, “Ambiguity and Misunderstanding in the Law,” Thomas

Jefferson Law Review, vol. 26, No. 1. 2002.

       Here 18 U.S.C. 1512(c) is manifestly ambiguous at least in the novel interpretation

propounded by the Government in these cases. And when such ambiguity also reflects a

Constitutional conflict, such conflict must always be resolved on the side of the

Constitution. Therefore, the Court should consider the extensive references by the various

Defendants to the legislative history and context of the passage of 18 U.S.C. 1512(c)(2).

       Arguably, in a statutory scheme about the destruction of documents, when there are other

statutes that would be rendered superfluous by the interpretation of “official proceeding” urged

by the Government. The transition between 1512(c)(1) and (c)(2) “or otherwise” is clearly

ambiguous.

           6. Interpretation to Avoid Conflict with First Amendment to be Preferred

       Whatever one thinks about what – in hindsight – various divergent groups, who

obviously could not all be acting in the same manner in a hive mind, ended up doing on January

6, 2021, the meaning of the statute 18 U.S.C. 1512(c)(2) must be fixed as a lodestar to guide




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legal conduct, not to respond to different circumstances.

       If an “official proceeding” can include a congressional event that is non-adjudicatory, and

one can be charged with “obstructing” or “influencing” that Congressional event, then the First

Amendment right of the people to “petition their government for the redress of grievances” of

the U.S. Constitution is clearly infringed.

       If one “obstructs” or “influences” a Congressional hearing by urging its members to

reach a particular decision, that is a Constitutional right, unless it is done “corruptly.” So what

does “corruptly” mean to distinguish conduct from First Amendment protected expression.

       In what way does the qualifier “corruptly” separate Constitutionally-protected expression

from criminally-prohibited conduct?

       Of course, it is a rule of statutory interpretation to construe any statute consistently with

the U.S. Constitution rather than to provoke a confrontation with the terms of the U.S.

Constitution. See Ohio v. Akron Ctr. for Reproductive Health, 497 U.S. 502, 514, 110 S.Ct.

2972, 111 L.Ed.2d 405 (1990) ('Where fairly possible, courts should construe a statute to avoid a

danger of unconstitutionality' (internal quotations omitted).)

       Congress chose the word “corruptly” rather than criminalizing whomsoever “unlawfully”

“or otherwise obstructs, influences, or impedes any official proceeding, or attempts to do so

….” Congress could have chosen other qualifiers which would have risked including

demonstrations or free speech which might be loud or unruly, but still protected by the First

Amendment. Instead, Congress used the financially-oriented word “corruptly” which sounds in

the financial context of the Arthur Anderson trials and the Sarbanes-Oxley law from which the

statute originated. Congress could have written “violently” or the like, though they did not.

       At least, this construction is the one that avoids a collision with the First Amendment.




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       Even if the Court is not persuaded by arguments about other approaches to interpretation,

the duty to avoid a conflict with a constitutional right should be independently considered in

addition to all other arguments. This duty is followed whether or not any other rule of

construction applies.

       Almost nothing charged in this case can constitute a crime without the Government

guessing, with no evidence and with clearly no mens rea, what the motives, intents, and purposes

of Defendants might have been. Under the First Amendment, even over-the-top statements of

frustration or exuberance may be considered hyperbole and taken with a grain of salt.

Especially, as an extension of the 2020 Presidential campaign still being disputed, 5 it is by
                                                                                           6
definition political rhetoric which the courts have found may be hyperbole, not literal.


V. CONCLUSION


5
        See, generally, e.g., Bush v. Gore, 531 U.S. 98 (2000) (2000 campaign not finally decid-
ed until December 12, 2000, when both George W. Bush and Al Gore disputed the Electoral Col-
lege votes out of Florida all the way up to the U.S. Supreme Court).
6
        The Supreme Court has repeatedly extended First Amendment protection to
statements that, in context, do not reasonably state or imply defamatory falsehoods in the
requisite sense. In Greenbelt Co-Op. Publ. Assn., Inc. v. Bresler, 398 U.S. 6, 13-15
(1970), the Court concluded that use of the word "blackmail" to describe the plaintiff's
hard-nosed negotiating tactics could not reasonably be understood to mean the plaintiff
had committed a criminal offense. In context, "even the most careless reader must have
perceived that the word was no more than rhetorical hyperbole, a vigorous epithet used
by those who considered [the plaintiff's] negotiating position extremely unreasonable."
Id. at 14. Consequently, "the imposition of liability . . . was constitutionally impermissi-
ble" because "as a matter of constitutional law, the word 'blackmail' . . . was not slander
when spoken, and not libel when reported in the Greenbelt News Review." Id. at 13.
Farah v. Esquire Magazine, 736 F.3d 528, 535-536, 407 U.S. App. D.C. 208, 215-216,
(D.C. Cir. 2013). Similarly, humans read and understand language within its many con-
texts. Humans use over-the-top language to blow off steam and express frustration in
ways that other humans comprehend as not being literal assertions of fact or literal state-
ments of intentions or plans. Language must be understood, in full, context, in the way
that real humans speak, even when imperfect. A mother exclaiming “I’m going to kill
that boy” is understood as merely being frustration.



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       The Defendant requests this Court to grant this Motion and such other relief as may be

deemed just. Defendant Daniel Paul Gray, requests that the Court dismiss Count 2 for the

reasons stated above.



Dated: October 21, 2022                   Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 21, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

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